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MAGISTRATE’S CRIMINAL MINUTES
ARRAIGNMENT
PLEA AND SENTENCE
Time in Court: Hrs. | 03 Mins.
Filed in Open Court | Date: May 1, 2025 Time: Tape: FTR
Magistrate (presiding):_Justin S, Anand Deputy Clerk: B. Evans
Case Number: 4:25-CR-191 Defendant’s Name: Aliakbar Mohammad Amin
AUSA: Matt Cartico Defendant’s Attorney: Joe Austin
USPO/PTR: Type of Counsel: ( )Retained( ) CJA ( ) FDP
ARREST DATE:
INTERPRETER:

INITIAL APPEARANCE HEARING: (_) In This District

Dft in custody? ( )Yes ( )No

Hearing conducted by video teleconference with consent of the parties.

Defendant advised of right to counsel. (_ }) WAIVER OF COUNSEL FILED.

ORDER appointing Federal Defender Program as counsel. ( ) INITIAL APPEARANCE ONLY

ORDER appointing .

as counsel.

ORDER giving defendant

days to employ counsel.

Dft to pay attorney fees as follows:

Xx INFORMATION/INDICTMENT FILED

WAIVER OF INDICTMENT FILED-

x Copy information/indictment given to dft( x) Yes ( )No

Read to dft?(_ ) Yes ( )no(x) prior to hrg

CONSENT TO TRIAL BEFORE MAGISTRATE (Misd/Petty) offense filed.

x ARRAIGNMENT HELD ( })Information/

( ) Dft's WAIVER of appearance filed.

Arraignment continued to

@

Request of ( )Govt ( )Dft

Dft failed to appear arraignment

Bench Warrant Issued:

x Dft enters PLEA OF NOT GUILTY. ( ) Dft stood mute; plea of Not Guilty entered. ( ) Waiver of appearance

MOTION TO CHANGE PLEA, and order allowing same

PLEA OF GUILTY/NOLO as to counts

Xx ASSIGNED to District Judge May for( )}trial (  ) arraignment/sentence
Xx ASSIGNED to Magistrate Judge Cannon for pretrial proceedings.
x Estimated trial time: days (x)SHORT ( )MEDIUM ( )LONG

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ARRAIGNMENT — Pg..2 CASE NO. 1:25-cr-191

CONSENT TO PRE-SENTENTCE INVESTIGATION filed. Referred to USPO for PSI and continued

until : at for sentencing.

Government’s MOTION FOR DETENTION filed. Hearing set for

Temporary commitment issued. Dft remanded to custody of U.S. Marshal Services

Defendant does not‘contest detention at this time.

BOND/PRETRIAL DETENTION HEARINGS

BOND/PRETRIAL DETENTION HEARING HELD.

BOND HEARING HELD.

Defendant to remain on pretrial release under the terms and conditions set forth in the U.S. District Court
for (other district) ©.

GOVERNMENT'S MOTION FOR DETENTION ( ) GRANTED ( x) DENIED ( )WITHDRAWN

WRITTEN ORDER TO FOLLOW.

HEARING HELD on motion for reduction / modification of bond.

MOTION FOR REDUCTION OF BOND / MODIFICATION OF BOND ( )GRANTED ( ) DENIED

WRITTEN ORDER TO FOLLOW.

BOND SET ATS

NON-SURETY

SURETY ( ) Cash ( } Property ( ) Corporate Surety

SPECIAL CONDITIONS:
SEE ORDER.

BOND FILED; DEFENDANT RELEASED.

BOND NOT EXCUTED. DEFENDANT TO REMAIN IN MARSHAL’S CUSTODY.

DEFENDANT HAS BEEN ADVISED:

Pursuant to the Due Process Protections Act, see Fed. R. Crim. P. 5(f), the government is ordered to adhere to
the disclosure obligations set forth in Brady v. Maryland, 373 U.S. 83 (1963), and its progeny, and to provide all
materials and information that are arguably favorable to the defendant in compliance with its obligations under
Brady; Giglio v. United States, 405 U.S. 150 (1972): and their progeny. Exculpatory material as defined in Brady
and Kyles v. Whitley, 514 U.S. 419, 434 (1995), shall be provided sufficiently in advance of trial to allow a
defendant to use it effectively, and exculpatory information is not limited to information that would constitute
admissible evidence. The failure of the government to comply with its Brady obligations in a timely manner may
result in serious consequences, including, but not limited to, the suppression or exclusion of evidence, the
dismissal of some orall counts, adverse jury instructions, contempt proceedings, or other remedies that are just
under the circumstances.

